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                      IN THE UNITED STATES DISTRICT COURT
 9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,        )
12                                    )
                     Plaintiff,       )   CR. No. S-08-0562 EJG
13                                    )
          v.                          )
14                                    )   STIPULATION AND ORDER
                                      )   CONTINUING SENTENCING DATE AS TO
15                                    )   DEFENDANT ARIAS.
     JOSE GONZALES ARIAS,             )
16                                    )
                    Defendant.        )
17
18
19        The sentencing of the above defendant is currently scheduled
20   for April 29, 2011.    Defense counsel has filed objections to the
21   Presentence Report that raises a somewhat complex issue and will
22   take the government longer to respond to than anticipated.            Defense
23   counsel has no objection to giving the government an extra week to
24   respond to his objections to the PSR and to continuing the
25   sentencing date for this defendant one week to May 6, 2011, at
26   10:00 a.m.   The Probation Officer has been notified and is in
27   agreement.   Thus, it is requested that the sentencing date for
28   defendant Arias be continued to May 6, 2011, at 10:00 a.m., and


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 1   that the government’s response to the defendant’s objections to the
 2   presentence report shall be due by Friday, April 29, 2011.
 3
 4   Dated: April 25, 2011
 5
                                             BENJAMIN B. WAGNER
 6                                           U.S. Attorney
 7
                                             by  /s/ Richard J. Bender
 8                                                RICHARD J. BENDER
                                               Assistant U.S. Attorney
 9
10
     Dated: April 25, 2011                    /s/ Michael Chastaine (by RJB)
11                                                 MICHAEL CHASTAINE
                                                Attorney for Defendant
12
13
14   IT IS SO ORDERED,
15   this 27th day of April, 2011
16
                                              /s/ Edward J. Garcia
17                                                 EDWARD J. GARCIA
                                              Senior, U.S. District Judge
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